Richard D. Monkman
rdm@sonosky.net
Lloyd B. Miller
lloyd@sonosky.net
Whitney A. Leonard
whitney@sonosky.net
Sonosky, Chambers, Sachse,
  Miller & Monkman, LLP
510 L Street, Suite 310
Anchorage, Alaska 99501
Telephone: (907) 258-6377
Facsimile: (907) 272-8332

Counsel for Intervenor-Defendant Central Council
of Tlingit and Haida Indian Tribes of Alaska

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

 STATE OF ALASKA,             )
                              )
             Plaintiff,       )
                              )
      v.                      )
 BRYAN NEWLAND et al.,        )
                              )
              Defendants,     )
                              )
      and                     )
                              )
 CENTRAL COUNCIL OF TLINGIT & )
 HAIDA INDIAN TRIBES OF       )                     Case No. 3:23-cv-00007-SLG
 ALASKA,                      )
                              )
      Intervenor-Defendant.   )
                              )

 NOTICE OF APPEAL BY INTERVENOR-DEFENDANT CENTRAL COUNCIL
        OF THE TLINGIT & HAIDA INDIAN TRIBES OF ALASKA

       Please take notice that Intervenor-Defendant Central Council of the Tlingit &

Haida Indian Tribes of Alaska (“Tribe”) appeals to the U.S. Court of Appeals for the
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Ninth Circuit this Court’s June 26, 2024 Order re Motions for Summary Judgment (ECF

No. 54), and Final Judgment (ECF No. 55). Final Judgment was entered on June 27,

2024.

        Pursuant to Federal Rule of Appellate Procedure 12(b) and Ninth Circuit Rule 3-

2(b), the Tribe’s Representation Statement is attached to this notice.

        Respectfully submitted this 26th day of August 2024, at Anchorage, Alaska.

                                              SONOSKY, CHAMBERS, SACHSE
                                                MILLER & MONKMAN, LLP

                                              By:   /s/ Whitney A. Leonard
                                                    Richard D. Monkman
                                                    Alaska Bar No. 8011101
                                                    Lloyd B. Miller
                                                    Alaska Bar No. 7906040
                                                    Whitney A. Leonard
                                                    Alaska Bar No. 1711064

                                                    Attorneys for Intervenor-Defendant




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              Certificate of Service

I certify that on August 26, 2024, a copy of the
foregoing document was served via ECF on:

Jessica Moats Alloway
jessie.alloway@alaska.gov

Christopher F. Orman
christopher.orman@alaska.gov

Charmayne Staloff
charmayne.staloff@usdoj.gov

William J. Crum
william.crum@usdoj.gov

/s/ Whitney A. Leonard
Whitney A. Leonard




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                            REPRESENTATION STATEMENT

Counsel for Plaintiff State of Alaska

Jessica Moats Alloway
Assistant Attorney General
Department of Law
1031 West Fourth Avenue, Suite 200
Anchorage, AK 99501
Telephone: (907) 269-6612
Email: jessie.alloway@alaska.gov

Counsel for Defendants Bryan Newland, in his official capacity as Assistant
Secretary, Indian Affairs, U.S. Department of the Interior; and U.S. Department of
the Interior

Charmayne G. Staloff
William J. Crum
Trial Attorneys
Indian Resources Section
Environment and Natural Resources Division
U.S. Department of Justice
P.O. Box 7611, Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 305-5628
Email: charmayne.staloff@usdoj.gov
william.crum@usdoj.gov

Counsel for Intervenor-Defendant Central Council of Tlingit & Haida Indian
Tribes of Alaska

Richard D. Monkman
Lloyd B. Miller
Whitney A. Leonard
Sonosky, Chambers, Sachse, Miller & Monkman, LLP
510 L Street, Suite 310
Anchorage, AK 99501
Telephone: (907) 258-6377
Email: rdm@sonosky.net
lloyd@sonosky.net
whitney@sonosky.net


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